993 F.2d 1546
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Paul JETER, Plaintiff-Appellant,v.Jeff MATHEW, Inspector, Defendant-Appellee.
    No. 93-3157.
    United States Court of Appeals, Sixth Circuit.
    May 7, 1993.
    
      Before MARTIN and BOGGS, Circuit Judges, and KRUPANSKY, Senior Circuit Judge.
    
    
      1
      This court entered an order on March 30, 1993, directing the appellant to show cause within twenty-one days why the appeal should not be dismissed for lack of jurisdiction because of a late notice of appeal.   Appellant has failed to respond.
    
    
      2
      It appears from the documents before the court that the judgment was entered November 17, 1992.   The notice of appeal filed on January 25, 1993, was 39 days late.   Fed.R.App.P. 4(a) and 26(a).
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.   Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.   Baker v. Raulie, 879 F.2d 1396, 1398 (6th Cir.1989) (per curiam);   McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);   Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);   Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).   Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.   Rule 8(a), Rules of the Sixth Circuit.
    
    